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                                                      DATE FILED: ISeptember 6, 2023 1:00 PM
                                                      CASE NUMBER: 2023CV32577
 DISTRICT COURT, DENVER, COLORADO
 1437 Bannock Street, Room 256
 Denver, CO 80202



    PETITIONER: Norma Anderson et al.                                    COURT USE ONLY


                                                                    Case No: 23CV32577
    RESPONDENT: Jena Griswold et al.
                                                                    Courtroom: 259




                                ORDER OF REASSIGNMENT


       This case is hereby reassigned to Courtroom 209 from Courtroom 466, due to the recusal of
the Honorable Judge Mark T. Bailey. Parties are instructed to contact Courtroom 209 for any
pending matters.


       DATED this 6th day of September, 2023.


                                           BY THE COURT:




                                           Christopher J. Baumann
                                           Chief Judge




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